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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

FELIX VALADEZ, LUIS CARRIZOZA, §
ABIGAIL REYES, AMADA MAN, and           §
TEXAS ENTERTAINMENT                     §
ASSOCIATION, INC., LONE STARR           §
MULTI-THEATRES, LTD.,d/b/a NEW          §
FINE ARTS WEST, XTC CABARET, INC., §
d/b/a XTC CABARET AUSTIN, and RCI §
DINING SERVICES (ROUND ROCK),           §
INC., d/b/a RICKS CABARET,              §
              Plaintiffs                §
v.                                      § CIVIL ACTION NO. 1:21-CV-519
                                        §
KEN PAXTON, in his official capacity as §
Attorney General of the State of Texas, §
and ED SERNA, in his official capacity  §
as Executive Director of the Texas      §
Workforce Commission,                   §
              Defendants.               §
______________________________________________________________________________

 ORDER GRANTING DEFENDANTS’ MOTION TO VACATE OR, IN THE ALTERNATIVE, CONTINUE
                                      TRIAL
______________________________________________________________________________

       On this day came on to be considered Defendants’ Motion to Vacate or, In the Alternative,

Continue Trial (“Motion”). After considering the Motion, the Court is of the opinion that the motion

should be granted.

       IT IS HEREBY ORDERED that the Motion is GRANTED.

       IT IS FURTHER ORDERED that the September 25, 2023 trial setting in this case is

______ vacated pending resolution of the Parties’ motions for summary judgment; or

______ continued until the ___ day of ________________, 20___.


       SIGNED this the _____ day of ____________ 2023.


                                            _________________________________
                                            THE HONORABLE ROBERT PITMAN
                                            UNITED STATES DISTRICT JUDGE
